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JS 44C/SDNY
REV. 06/01/17

CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS
Rohan Ramchandani

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER
Law Office of David R. Lurie, PLLC

194 President Street, Brooklyn, NY 11231

347-651-0194

DEFENDANTS
Citigroup, Inc., Citicorp and Citibank, NA

ATTORNEYS (IF KNOWN)
Marshall Fishman, Goodwin Procter LLP
620 Eight Ave., NY, NY 10018

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No[_]Yes

Judge Previously Assigned

& Case No.

if yes, was this case Vol.[_] Invol. [] Dismissed. No [_] Yes [_]_Ifyes, give date

Is THIS AN INTERNATIONAL ARBITRATION CASE?

(PLACE AN [x] IN ONE BOX ONLY)

TORTS

CONTRACT PERSONAL INJURY

[ ]110 INSURANCE [ 1310 AIRPLANE

[ 1120 MARINE [ 1315 AIRPLANE PRODUCT

[ 1130 MILLER ACT LIABILITY

[ 1140 NEGOTIABLE [ ]320 ASSAULT, LIBEL &
INSTRUMENT SLANDE

[ 1150 RECOVERY OF —‘[ ] 330 FEDERAL
OVERPAYMENT & EMPLOYERS’
ENFORCEMENT LIABILITY
OF JUDGMENT ——_[ ] 340 MARINE

[ 1151 MEDICARE ACT __[ 1345 MARINE PRODUCT

[ 1152 RECOVERY OF LIABILITY
DEFAULTED [ ]350 MOTOR VEHICLE
STUDENT LOANS [ ]355 MOTOR VEHICLE
(EXCL VETERANS) PRODUCT LIABILITY

[ ] 183 RECOVERY OF __[ ] 360 OTHER PERSONAL
OVERPAYMENT INJURY
OF VETERAN'S [ ]362 PERSONAL INJURY -
BENEFITS MED MALPRACTICE

[ ] 160 STOCKHOLDERS
SUITS

[ 1190 OTHER
CONTRACT

[ ] 195 CONTRACT
PRODUCT ACTIONS UNDER STATUTES
LIABILITY

[ ]196 FRANCHISE CIVIL RIGHTS

{ ]440 OTHER CIVIL RIGHTS
(Non-Prisoner)

REAL PROPERTY
[ ]441 VOTING
[ ]210 LAND [ ]442 EMPLOYMENT
CONDEMNATION — [ ] 443 HOUSING/
[ ]220 FORECLOSURE ACCOMMODATIONS
{ ]230 RENT LEASE & [ ]445 AMERICANS WITH
EJECTMENT DISABILITIES -
{ ] 240 TORTS TO LAND EMPLOYMENT

[ ]245 TORT PRODUCT
LIABILITY

{ ]290 ALL OTHER
REAL PROPERTY

[ ]446 AMERICANS WITH
DISABILITIES -OTHER
[ ]448 EDUCATION

Check if demanded in complaint:

 

 

 

 

DEMAND $112 MM

CHECK IF THIS IS ACLASS ACTION
UNDER F.R.C.P. 23

OTHER

Check YES only if demanded in complaint
JURY DEMAND: Xl YES CNO

No Yes [_]

NATURE OF SUIT

PERSONAL INJURY
[ 1367 HEALTHCARE/

ACTIONS UNDER STATUTES

FORFEITURE/PENALTY

PHARMACEUTICAL PERSONAL | 1625 DRUG RELATED

INJURY/PRODUCT LIABILITY

{ ]365 PERSONAL INJURY
PRODUCT LIABILITY

[ ] 368 ASBESTOS PERSONA\
INJURY PRODUCT
LIABILITY

PERSONAL PROPERTY
[ ]370 OTHER FRAUD
{ ]371 TRUTH IN LENDING

[3380 OTHER PERSONAL
PROPERTY DAMAGE

[ ]385 PROPERTY DAMAGE
PRODUCT LIABILITY

PRISONER PETITIONS

{ ]463 ALIEN DETAINEE

{ ]510 MOTIONS TO
VACATE SENTENCE
28 USC 2255

530 HABEAS CORPUS

535 DEATH PENALTY

{]
]
[ ]540 MANDAMUS & OTHER

PRISONER CIVIL RIGHTS
{ ] 550 CIVIL RIGHTS

[ ]555 PRISON CONDITION
[ ] 560 CIVIL DETAINE

E
CONDITIONS OF CONFINEMENT

SEIZURE OF PROPERTY

21 USC 881 { ]423 WITHDRAWAL
L [ ]690 OTHER

PROPERTY RIGHTS

{ ]820 COPYRIGHTS
[ ] 830 PATENT

[ ]835 PATENT-ABBREVIATED NEW DRUG APPLICATION

[ ] 840 TRADEMARK

SOCIAL SECURITY

LABOR { ] 861 HIA (1395ff)

[ ]862 BLACK LUNG (923)

[ ] 863 DIWC/DIW (405(g))
STANDARDS ACT [ ]864 SSID TITLE XVI

{ ]865 RSI (405(g))

{ ] 710 FAIR LABOR

[ ] 720 LABOR/MGMT
RELATIONS

[ ] 740 RAILWAY LABOR ACT

[ ] 751 FAMILY MEDICAL

LEAVE ACT (FMLA)

[ ] 790 OTHER LABOR

{ ]870 TAXES (U.S. Plaintiff or

LITIGATION { ]871 IRS-THIRD PARTY

[ ]791 EMPL RET INC
SECURITY ACT (ERISA)

IMMIGRATION

[ ] 462 NATURALIZATION
APPLICATION

[ ]465 OTHER IMMIGRATION

ACTIONS

BANKRUPTCY

[ ]422 APPEAL

FEDERAL TAX SUITS

OTHER STATUTES

[ ]375 FALSE CLAIMS
[ ]376 QUI TAM

[ ]400 STATE
REAPPORTIONMENT

[ ]410 ANTITRUST

[ ]430 BANKS & BANKING

[ ]450 COMMERCE

[ ] 480 DEPORTATION

[ ]470 RACKETEER INFLU-
ENCED & CORRUPT
ORGANIZATION ACT
(RICO)

[ ]480 CONSUMER CREDIT

[ ]490 CABLE/SATELLITE TV

[ ] 850 SECURITIES/
COMMODITIES/
EXCHANGE

[ 1890 OTHER STATUTORY
ACTIONS
[ ]891 AGRICULTURAL ACTS

[ ]893 ENVIRONMENTAL
MATTERS
[ ]895 FREEDOM OF
INFORMATION ACT
[ ] 896 ARBITRATION
[ ] 899 ADMINISTRATIVE
PROCEDURE ACT/REVIEW OR
APPEAL OF AGENCY DECISION

[ ] 950 CONSTITUTIONALITY OF
STATE STATUTES

DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.

AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?

IF SO, STATE:
JUDGE

 

DOCKET NUMBER

NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
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(PLACE AN x IN ONE BOX ONLY) ORIGIN
1 Original [| 2 Removed from C] 3 Remanded C] 4 Reinstated or C] 5 Transferred from O16 anata [7 io : fe aa ~
Proceeding State Court a Reopened (Specify Distic) (Transferred) Magistrate Judge

[| a. allparties represented = Court
(18 Multidistrict Litigation (Direct File)

[] b. Atleast one party

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[11 U.S. PLAINTIFF [[]2 U.S. DEFENDANT [| 3 FEDERAL QUESTION [k]4 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE [11 []1 CITIZEN OR SUBJECT OF A 13113 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE []4[]4 FOREIGN NATION []6 []6

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
Rohan Ramchandani,

14 Wildwood Road

London, United Kingdom

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

CitiGroup, Inc. , 388 Greenwich Street, NY, NY 10013
Cititorp. , 388 Greenwich Street, NY, NY 10013
Citibank, NA, 701 East 60th St N, Sioux Falls, SD 57104

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ON BE ASSIGNED TO: [] WHITE PLAINS MANHATTAN

LA? Ler

DATE 40/2/19 SIGNATURE OF ATTORNEY OF RECORD io TO PRACTICE IN THIS DISTRICT
[% YES (DATE ADMITTED Mo.April Yr, 1997 )
RECEIPT # Attorney Bar Code # qig837

Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
